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[Dostkamd] [Order Striking Amendment To Schedules]




                                        ORDERED.
Dated: September 8, 2022




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                   Case No.
                                                                         8:22−bk−00690−MGW
                                                                         Chapter 13

Teresa Gaffney




________Debtor*________/

                               ORDER STRIKING AMENDED SCHEDULE D

   THIS CASE came on for consideration, without hearing, of the Amended Schedule D filed September 2,
2022, Doc. No. 81. The Amended Schedule D is deficient as follows:

         The Amendment to Schedules is not limited to only new or deleted information pursuant to
         Local Rule 1009−1(b).

         .

   Accordingly, it is ORDERED:

   The Amended Schedule D is stricken without prejudice and with leave to refile after having cured these
deficiencies.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
